   Case 2:19-cr-00877-CCC Document 354-1 Filed 08/15/24 Page 1 of 1 PageID: 4264




UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-------------------------------------------------------- X
                                                         :
UNITED STATES OF AMERICA,
                                                         :
                  -against-                                Crim. No. 2:19-cr-877-CCC
                                                         :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                             :
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                   :
SILVIU CATALIN BALACI
                                                         :
                           Defendants.
-------------------------------------------------------- X
             [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

       THIS MATTER having come before the Court on the motion of Defendant Matthew Brent

Goettsche, through the undersigned counsel, to modify conditions of pretrial release (Dkt. ___), the

Court having considered the consent of Pretrial Services and no objection from the government, through

AUSA Anthony Torntore, and having read and considered this motion, hereby adopts the following:

Mr. Goettsche’s home confinement condition shall moved from home incarceration as modified by the

Court to curfew. Mr. Goettsche’s hours of restriction to the residence shall be directed by Pretrial

Services.

       It is further ordered that the above conditions of release are in addition to, and not in place of, the

conditions previously set forth by this Court.

SO ORDERED.


____________________________
Hon. Michael A. Hammer
United States Magistrate Judge
